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                    UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________
IN RE
  ONE IMPORTERS AND.
  DISTRUTORS, LLC                      Chapter 11, Subchapter V
      Debtors                          Case No.: 22-11592-CJP
__________________________________

            NOTICE OF INTENDED PUBLIC SALE OF ESTATE PROPERTY,

January 26, 2023        IS THE DATE OF THE PROPOSED SALE

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-DQXDU\ IS THE DATE BY WHICH OBJECTIONS MUST BE MADE

NOTICE IS HEREBY GIVEN, pursuant to 11 U.S.C. § 363 and Fed. R. Bankr. P. 2002(a)(2)

and 6004, and MLBR 2002-5 and 6004-1, that the debtor-in-possession, One Importers and

Distributors, LLC (the “Debtor”) intends to sell at public auction the Debtor’s right, title and

interest in certain property of the estate consisting of:

PROPERTY TO BE SOLD:

        A 2015 Isuzu NPR Box Truck, VIN JALC4W160F7K01001 (the “Vehicle”).

THE AUCTION:

        The sale will be via public auction conducted by Paul E. Saperstein, Co., Inc. at 144

Centre Street, Holbrook, Massachusetts 02343 on January 26, 2023, at 12:00 P.M. The auction

will also be held online. Interested bidders can register at:

https://www.pesco.com/servlet/AuctionInfo.do?auctionId=82651

The website address of the auctioneer is www.pesco.com

        The proposed sale procedures are more particularly described in the Debtor’s Motion for

Order Authorizing and Approving Public Sale of Property of the Estate (the “Motion to Approve

Sale”), a copy of which is available at no charge upon request from the undersigned or on the

website of the Court: www.mab.uscourts.com.
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        SALE FREE AND CLEAR OF LIENS:

        The Vehicle will be sold free and clear of all liens, claims and encumbrances. Any

perfected, enforceable and valid liens shall attach to the proceeds of the sale according to priorities

established under applicable law.

        OBJECTIONS:

        Any objections to the sale shall be filed in writing with the Clerk, United States Bankruptcy

Court, 5 Post Office, Suite 100, Boston Massachusetts 02108 on or before -DQXDU\DW

 SP (“Objection Deadline”). A copy of any objection shall also be served upon the

undersigned. Any objection to the sale must state with particularity the grounds for the

objection, and why the intended sale should not be authorized. Any objection to the sale

shall be governed by Fed. R. Bankr. P. 9014.



HEARING:

        A hearing on the Motion to Sell and any objection thereto Ls scheduled to take place on

-DQXDU\   DW  DP, before the Honorable Christopher J. Panos, United States

Bankruptcy Court, E\ WHOHSKRQH.  7R DSSHDU WHOHSKRQLFDOO\ DW WKH KHDULQJ DWWHQGHHV VKDOO GLDO

 DQGHQWHUDFFHVVFRGH At the hearing on approval of the sale the Court

may determine further terms and conditions of the sale. Any party who has filed an objection is

expected to be present at the hearing, failing which the objection may be overruled. The Court

may take evidence at the hearing to resolve issues of fact. If no objection to the Motion to

Approve Sale is timely filed, the Court, in its discretion, maycancel the scheduled hearing and

approve the sale without a hearing.
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      Any questions concerning the intended sale shall be addressed to the undersigned.


                                                  Respectfully submitted,
                                                  One Importers and Distributors, LLC
                                                  By its attorney,


Dated: December 29, 2022                          /s/ Marques C. Lipton
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